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           IN THE UNITED STATES DISTRICT COURT FOR THE

                   EASTERN DISTRICT OF CALIFORNIA



UNITED STATES OF AMERICA,         )
                                  )   CR. 06-441-GEB
          Plaintiff,              )
                                  )   STIPULATION AND [PROPOSED] ORDER
                                  )   CONTINUING STATUS CONFERENCE AND
     v.                           )   EXCLUDING TIME
                                  )
DONALD HAYLES                     )
                                  )
          Defendant.              )   Hon. Garland E. Burrell, Jr.
                                  )


     Defendant Donald Hayles, by and through counsel, Adam D.

Fein, and the United States of America, through its counsels of

record, McGregor W. Scott, United States Attorney for the Eastern

District of California, and Jill M. Thomas, assistant United

States attorney, hereby stipulate and agree that the status

conference presently scheduled for July 25, 2008, be continued to

August 29th, 2008, at 9:00 a.m.

     The parties fully expect to resolve all outstanding matters

prior to that date and to enter into an agreed upon disposition

of the case by that same date. Therefore, the parties have agreed
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and respectfully request that the Court set the date of August

29th, 2008, at 9:00 a.m., for the status conference.

Accordingly, the parties stipulate and agree that time be

excluded pursuant to 18 U.S.C. 3161(h)(1)(F) and Local Code T4 -

additional time to prepare.

IT IS SO STIPULATED.



                                       Respectfully Submitted,

                                       Adam D. Fein
                                       Attorney for defendant
                                       Donald Hayles


Dated: July 23, 2008                   By:/s/ Adam D. Fein
                                       Attorney for defendant
                                          Donald Hayles

Dated: July 23, 2008                   By:/s/ Jill Thomas
                                          Assistant U.S. Attorney
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                                     ORDER

     UPON GOOD CAUSE SHOWN and by stipulation of the parties, it

is hereby ordered that this matter be set for further status

conference as set forth above.

     The Court finds excludable time as set forth above to and

including August 29, 2008.


     IT IS SO ORDERED.

Dated:     July 23, 2008



                                  GARLAND E. BURRELL, JR.
                                  United States District Judge
